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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 

Civil Action No.2:19-cv-08035-GW-SSx

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (V)

This summons for (name of individual and title, ifany) Charter Communications, Inc.

 

was received by me on (date) 9/19/2019

 

(7 I personally served the summons on the individual at (place)

 

on (date) 5 or

 

(1 I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual’s last known address; or

of I served the summons on (name of individual) | Kemisha James, Registered Agent , who is

 

designated by law to accept service of process on behalf of (name of organization) Charter Communications, Inc.

 

 

c/o The Corporation Trust Company, Service time - 8:55 a.m. ON (date) 10/11/2019 > Or

I returned the summons unexecuted because ; or

 

O Other (specify):

My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date; _ 10/11/2019 (Ht iL

Server's signature

Kathy DeLacy, Process Server
Printed name and title

 

D. M. Professional Services
501 Silverside Rd, Ste 72
Wilmington, DE 19809

 

Server's address

Additional information regarding attempted service, etc:
